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  1                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
  2
       Criminal Action No. 12-cr-00033-JLK-2
  3
       UNITED STATES OF AMERICA,
  4
             Plaintiff,
  5
       vs.
  6
       BAKHTIYOR JUMAEV,
  7
             Defendant.
  8
       _______________________________________________________________
  9
                            REPORTER'S TRANSCRIPT
 10                              SENTENCING
       _______________________________________________________________
 11

 12              Proceedings before the HONORABLE JOHN L. KANE, JR.,

 13    Senior Judge, United States District Court for the District of

 14    Colorado, commencing at 10:01 a.m., on the 18th day of July,

 15    2018, in Courtroom A802, United States Courthouse, Denver,

 16    Colorado.

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 23
                      THERESE LINDBLOM, Official Reporter
 24                 901 19th Street, Denver, Colorado 80294
                 Proceedings Reported by Mechanical Stenography
 25                   Transcription Produced via Computer
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  1                            A P P E A R A N C E S

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 10    Jumaev.

 11

 12                            P R O C E E D I N G S

 13              (In open court at 10:01 a.m.)

 14              THE COURT:    Thank you.    Good morning, and please be

 15    seated.

 16              We need to swear in the interpreters.

 17              Thank you for being here.

 18              (Interpreters sworn.)

 19              THE COURT:    This is United States of America v.

 20    Bakhtiyor Jumaev, 12-cr-33.      And the cause comes on for

 21    sentencing.

 22              Is there any reason why we may not proceed today?

 23              MR. HOLLOWAY:    None from the government, Your Honor.

 24    Thank you.

 25              THE COURT:    The defendant?
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  1              MR. SAVITZ:    None on behalf of the defendant.

  2              THE COURT:    I'm going to proceed in a somewhat unusual

  3    manner from most sentencings, and that's because I have written

  4    a sentencing opinion, which I will include in the proceedings

  5    today in their entirety, but I haven't finished them yet

  6    because I haven't listened to the final statements of counsel.

  7    And if Mr. Jumaev cares to make an additional statement, I want

  8    to hear from him, as well.      I did receive his letter, and I

  9    read it a number of times.

 10              MR. SAVITZ:    Thank you, Your Honor.

 11              THE COURT:    I consider that an allocution.       If he

 12    wants to say something more, he can.

 13              MR. SAVITZ:    He may, Your Honor.

 14              THE COURT:    I've got a few things I want to take care

 15    of first, so these will be included in my written opinion.           But

 16    for purposes of today, I think it's important that you

 17    understand that this is not going to be a guideline sentence.

 18    And so I'm going to read some of the opinion, but not all of

 19    it.   And I will obviously need to make some additions or

 20    changes after I hear from the people here today.          But this

 21    is -- this part will not require, I don't think any amendments.

 22              The background is this:      Mr. Jumaev is a

 23    51-year-old -- if I go too fast, please tell me.

 24              Mr. Jumaev is a 51-year-old Muslim immigrant.         He was

 25    born in 1966 in Samarkand, Uzbekistan.        At that time,
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  1    Uzbekistan was part of the Soviet Union and subject to

  2    oppressive Soviet policies that basically outlawed religion,

  3    including Islam, the majority religion in Uzbekistan.          In that

  4    environment, Mr. Jumaev attended grade school, obtained

  5    vocational training in cooking and trading in goods, served as

  6    a cook in Ukraine in the Soviet Army, and worked in his

  7    relatives' tombstone business.       He also married and started a

  8    family.

  9               Then in 1991, Uzbekistan became a sovereign state,

 10    with Islam Karimov as its president.        During Karimov's 25-year

 11    reign, repressive policies and government controls took on new

 12    forms.    Individuals were permitted to practice Islam, but only

 13    as the regime saw fit.     Religious figures were persecuted by

 14    the government for not adhering to its specifications.          Access

 15    to information and freedom of the press were greatly restricted

 16    as well.    In fact, Freedom House, a non-partisan think tank in

 17    Washington, D.C., consistently gave Uzbekistan some of the

 18    lowest possible ratings for the existence of democratic

 19    freedoms.

 20               I'm going to eliminate from my reciting the sources

 21    within the record, but I can tell you that each one of these

 22    things comes from the record.       And as an example, Freedom

 23    House, is in electronic case file No. 1832, the trial

 24    transcript at page 1007, 2 through 25.        I'll continue, then,

 25    without the further reference to footnotes or sources.
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  1              In the -- is this -- am I going too fast?

  2              INTERPRETER:    Fine.   Thank you.

  3              THE COURT:    In the mid to late 1990s, the economy in

  4    Uzbekistan suffered, and a large segment of the population

  5    began to migrate to other places in search of employment.

  6    Mr. Jumaev, likewise, suffered from the economic situation and

  7    ultimately left his family in Uzbekistan to work in Israel for

  8    two and a half years to support them.

  9              After he returned to Uzbekistan in 1999, Mr. Jumaev

 10    was found by the Uzbek security service, known as the SNB, to

 11    be in possession of cassette tapes of religious leaders who

 12    were disfavored by the government.       As a result, he was jailed,

 13    interrogated, and beaten.

 14              These circumstances prompted Mr. Jumaev to travel to

 15    the United States the following year on a temporary visa.           He

 16    first came to New York City, but settled in I think it's called

 17    Lehighton, Pennsylvania, and then Philadelphia.         Soon after

 18    arriving, he was struck by a car when riding a bicycle and was

 19    severely injured.     He could not work, depended on others for

 20    support, and was unable to send money to his family in

 21    Uzbekistan during his year-long convalescence.

 22              Over the following decade, Mr. Jumaev found steady

 23    employment as a gas station attendant and a custodian, living a

 24    meager lifestyle so he could consistently send money to his

 25    wife and three sons.     He frequently worked night shifts and
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  1    traveled hours to and from his jobs.        Still, he talked to his

  2    family on almost a daily basis until his arrest in this case.

  3               Mr. Jumaev met his codefendant, Jamshid Muhtorov, in

  4    December 2009 when one of his roommates arranged for

  5    Mr. Muhtorov to stay in their apartment for a month while

  6    Mr. Muhtorov obtained his commercial driver's license.

  7    Mr. Muhtorov was also from Uzbekistan, and he and his family

  8    had moved as refugees to Denver in 2006.        He had similarly

  9    experienced brutality at the hands of the Uzbek authorities and

 10    was exploring his Muslim faith in the United States.

 11               Over the months that passed, Mr. Jumaev and

 12    Mr. Muhtorov developed a long-distance friendship in which they

 13    discussed a wide variety of topics, such as their families,

 14    Islam, current events, and the immigrant experience in the

 15    United States.    They also conversed about the Islamic Jihad

 16    Union and the Islamic movement of Uzbekistan, the IMU, the

 17    history of the two foreign terrorist organizations, and related

 18    propaganda videos they found online.        In speaking about these

 19    organizations, Mr. Jumaev and Mr. Muhtorov often used ambiguous

 20    code words like "wedding," "resort," "Switzerland," "alpinist,"

 21    and "sportsmen."    It is clear from their communications,

 22    though, that they both sympathized with the principal goal of

 23    the two organizations, to overthrow the regime of Islam

 24    Karimov.

 25               According to Dr. Guido Steinberg a renowned expert in
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  1    terrorism, the Islamic Jihad Union spun off from its older

  2    sister, the Islamic Movement of Uzbekistan, around 2001 or 2002

  3    to focus their efforts globally and not just on Uzbekistan.           In

  4    its heyday, from 2006 to 2009, the IJU had at most 100 to 200

  5    members; but many considered it to be mostly obsolete by 2009,

  6    as its numbers dwindled to around a dozen.         According to Dr.

  7    Steinberg, the organization has been affiliated with al-Qaeda

  8    and the Afghan Taliban and has fought U.S. and Coalition forces

  9    in Afghanistan.

 10              In February of 2010, Mr. Jumaev was detained by U.S.

 11    Immigration and Customs Enforcement for overstaying his visa,

 12    and his bond was set at $3,000.       In order to be released and to

 13    return to work, Mr. Jumaev borrowed various amounts from

 14    friends and acquaintances, including $500 from Mr. Muhtorov.

 15    Mr. Jumaev struggled to manage his and his family's debts after

 16    his arrest, so he did not pay Mr. Muhtorov back for many

 17    months.

 18              Mr. Muhtorov routinely hinted to Mr. Jumaev that he

 19    was having financial difficulties.       And, eventually, in

 20    March 2011, Mr. Muhtorov relayed that the IJU, with which he

 21    had been communicating over the internet, was in dire need of

 22    financial support.     Mr. Jumaev gathered $300 and used a

 23    friend's check to send the money to Mr. Muhtorov.          A few days

 24    later, Mr. Jumaev asked Mr. Muhtorov if he had received the

 25    "wedding gift."    The check was later delivered and used by
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  1    Mr. Muhtorov's wife for their family expenses.         The

  2    conversation went as follows:

  3               Mr. Jumaev:   "Has the wedding gift arrived?       The

  4    wedding gift?"

  5               Mr. Muhtorov:   "No, it hasn't yet."

  6               Mr. Jumaev:   "It still hasn't made it there?"

  7               Mr. Muhtorov:   "No."

  8               Mr. Jumaev:   "Glory be to Allah, but I've sent it out

  9    last week."

 10               Mr. Muhtorov:   "We haven't checked the mail yet.

 11    We'll check the mail."     To someone in the background, "Have you

 12    by any chance checked the mail recently?        A check should be

 13    coming."

 14               Mr. Jumaev:   "God willing it will.      Hmmm.

 15               Mr. Muhtorov:   "It hasn't come yet.      It will, God

 16    willing."

 17               Mr. Muhtorov bragged to Mr. Jumaev and others for

 18    months about his scheme to go to Turkey to study and then to

 19    travel to the wedding.     Mr. Jumaev encouraged Mr. Muhtorov and

 20    even stated that he was envious.

 21               In January 2012, Mr. Muhtorov put his plans into

 22    action.    He purchased a one-way ticket to Turkey and discussed

 23    with his wife the possibility of him not returning.          Before

 24    boarding the plane, though, Mr. Muhtorov was arrested.          He was

 25    carrying $2,865 in cash, two new iPhones, and a new iPad.
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  1              After Mr. Muhtorov's arrest, FBI agents interviewed

  2    Mr. Jumaev twice at his house.       Mr. Jumaev was not fully

  3    forthright with the agents during those interviews,

  4    specifically as to his use of code words with Mr. Muhtorov, the

  5    full scope of their discussions, and his internet activity.           On

  6    March 15, 2012, Mr. Jumaev was arrested and was interrogated by

  7    FBI agents for three and a half hours.        He has been in

  8    detention since that date.

  9              Regrettably, the complexities of the evidence and the

 10    nature of the charges delayed the commencement of Mr. Jumaev's

 11    trial until March 12, 2018.      The trial was extensive, lasting

 12    seven weeks and involving hundreds of exhibits and tens of

 13    witnesses.    The resources expended -- to bring foreign

 14    witnesses and experts here, to depose witnesses abroad, to

 15    ensure accurate translations, to sift through mountains of

 16    evidence, and to exhaustively litigate the relevant issues --

 17    were great.    But Mr. Jumaev was entitled to a fair trial and

 18    put forward the type of legitimate defenses that necessitated a

 19    trial.   He argued that he was only repaying his debt to

 20    Mr. Muhtorov, a duty that in his culture was incredibly

 21    important.    He claimed he was oblique about the debt repayment

 22    because in his shared culture with Mr. Muhtorov, it would have

 23    been inappropriate and even offensive to even discuss the debt

 24    repayment.    Additionally, he presented Mr. Muhtorov as an

 25    exaggerator who he thought was full of hot air.         And Mr. Jumaev
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   1   sought to demonstrate that any admissions he made during his

   2   post-arrest interrogation were involuntary, equivocal, and

   3   inconsistent.

   4              The jury deliberated over 15 hours and recessed for a

   5   weekend before returning the verdicts.        The jurors undoubtedly

   6   took their responsibilities seriously and returned the verdicts

   7   only after careful consideration of the evidence presented and

   8   the law given.

   9              Post-verdict, I have received and reviewed the initial

 10    and final presentence investigation reports, Mr. Jumaev's

 11    objections, and the addendum to the presentence report, the

 12    government's amended sentencing statement, Mr. Jumaev's

 13    sentencing statement and motion for a variant sentence, and

 14    Mr. Jumaev's supplement thereto.       Mr. Jumaev additionally

 15    submitted a letter he authored to the Court, in which he stands

 16    on his innocence and iterates that he has been denied his right

 17    to a speedy trial and other arguments as to why he believes he

 18    was denied a fair trial.      I have considered all of the

 19    submissions, including the contents of Mr. Jumaev's letter.

 20               And I want Mr. Jumaev to know that I have read it a

 21    number of times, and I commend him for his candor.

 22               I have previously notified the parties that I find the

 23    U.S. Sentencing Guidelines to be illogical and inadequate for

 24    sentencing Mr. Jumaev.      I elaborate in my conclusion in my

 25    written order which will follow this hearing and will be
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   1   incorporated fully in today's proceedings.         I will calculate

   2   the applicable guideline range as required under Gall v. United

   3   States.    If the calculation is in error, however, it has no

   4   impact on the eventual sentence.

   5              And for that I suggest the parties see U.S. v.

   6   Sabillon-Umana, at 772 F.3d 1328, at 1334, decided in 2014.

   7   Apart from these rulings on the applicable sentencing guideline

   8   provisions, no finding is necessary concerning Mr. Jumaev's

   9   remaining objections or clarifications to the presentence

 10    investigation report because the controverted matters have

 11    either been addressed through revisions to the report or will

 12    not be taken into account in imposing the sentence or will not

 13    affect the sentence.      The factual statements in the report are

 14    otherwise adopted.

 15               I reject the guidelines in this case -- in summary,

 16    I'll tell you about that -- and instead find it appropriate to

 17    sentence Mr. Jumaev pursuant to the factors set forth in

 18    Title 18 United States Code Section 3553(a).         My reasons for

 19    doing so are multitudinous.       Principally, I have concluded this

 20    case presents circumstances not adequately taken into

 21    consideration by the Sentencing Commission.         It seems I am not

 22    alone in my conclusions.      Sentencing commission statistics

 23    inform that, of 16 defendants from 2013 to 2017 for which

 24    Section 2339B is the only count of conviction, 62.5 percent, or

 25    ten defendants, received sentences that were below the
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   1   guideline range that were not sponsored by the government.            The

   2   average reduction for non-government sponsored below-range

   3   sentences was 41.1 percent, or 79 months.

   4              These points are detailed in the following section,

   5   but include Mr. Jumaev's owing of the debt, his extended period

   6   of pretrial detention, his prolonged absence from his family,

   7   his immigration situation, and the lack of rehabilitation

   8   programs for him.

   9              I have two principal objections to the so-called

 10    terrorism enhancement.      First, it is not backed by any

 11    empirical evidence at all; and, second, treating all terrorists

 12    alike is impermissible under our sentencing paradigm and has

 13    significant ripple effects.

 14               While the U.S. Sentencing Guideline Section 2M5.3 has

 15    an "internal enhancement mechanism" to calibrate the severity

 16    of the sentence to the culpability of the conduct and the harm,

 17    as shown in a number of Law Review articles and studies, that

 18    distinction is lost with the terrorism enhancement, which

 19    frequently results in guideline ranges that equal the maximum

 20    statutory sentence and fail to differentiate between various

 21    levels of conduct.

 22               This effect was artfully described by the probation

 23    officer who authored the presentence report in this case.           And

 24    I quote, "What is clear from my research is, despite a

 25    significant range of conduct that can produce a conviction for
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   1   material support, the sentencing guidelines result in a nearly

   2   identical guideline range in each case, regardless of the

   3   underlying conduct.     Material support can involve financial

   4   support -- as it did in the defendant's case -- or traveling

   5   with the purpose of fighting jihad personally -- as it did with

   6   his codefendant.     Other examples include securing and providing

   7   weapons for terrorist organizations, providing the location of

   8   military and government employees to terrorist organizations

   9   through hacking activities, and plots to attack military bases

 10    in the United States and around the world.         The difficulty is

 11    that under the guidelines, there is no distinction between less

 12    and more serious offenses, those in which actual harm occurred

 13    and those where it did not," end of quote.

 14               In rejecting and varying from the sentencing

 15    guidelines, I am intent on crafting a sentence for Mr. Jumaev

 16    that is "sufficient but not greater than necessary," A, to

 17    reflect the seriousness of the offense, to promote respect for

 18    the law, and to provide just punishment for the offense; B, to

 19    afford adequate deterrence to criminal conduct; C, to protect

 20    the public from further crimes of the defendant; and, D, to

 21    provide the defendant with needed educational or vocational

 22    training, medical care, or other correctional treatment in the

 23    most effective manner.      Those are the criteria under Title 18

 24    United States Code Section 3553(a)(2).        I am also concerned

 25    with the nature and circumstances of the offense and the
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   1   history and characteristics of Mr. Jumaev, as well as the kinds

   2   of sentences available and the need to avoid unwarranted

   3   sentencing disparities.

   4              I will now listen to counsel and to Mr. Jumaev, if he

   5   wishes to make an additional statement.         After hearing, I will

   6   take a 30-minute recess and return to impose sentence.

   7              Are you ready to proceed?

   8              MR. HOLLOWAY:    I am, Your Honor.

   9              THE COURT:   Go ahead, please.

 10               MR. HOLLOWAY:    Good morning, Your Honor.

 11               THE COURT:   Good morning.

 12               MR. HOLLOWAY:    I will, given the Court's recitation

 13    this morning, skip any argument as it relates to any guideline

 14    enhancements; but I will, instead, turn immediately to

 15    consideration of the factors under 3553(a).

 16               What I think is important to consider in its analysis

 17    is the defendant's trajectory of his time here in the United

 18    States.    It's important to look at.      And, indeed, there are a

 19    large number of mitigating factors; and those mitigating

 20    factors were presented at trial by the defendant and his

 21    attorneys.    But I do want the Court to understand from the

 22    government's perspective why the trajectory of the defendant's

 23    behavior here in the United States is important.

 24               The defendant came here on a tourist visa, and

 25    immediately he got a job, and he broke the law.          And as much as
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   1   we may sympathize with conditions as he indicates may exist in

   2   Uzbekistan, it -- it is still not a valid excuse to come here

   3   and immediately break the law.

   4              And, indeed, as the trial progressed, the defendant

   5   demonstrated through his own testimony -- and through his own

   6   admissions -- that he lied to advance his own interests, and he

   7   lied to protect his codefendant.       And those lies are crimes.

   8   And, indeed, even after being arrested on his overstay and

   9   after the pendency of this case, he admitted on

 10    cross-examination that he lied in his asylum application.

 11               That, combined with what -- with what I view as -- as

 12    the defendant's alarming trajectory of radicalization -- I

 13    believe that he was arrested in the very beginning stages of

 14    his action to support terrorist groups.         And, in fact, his own

 15    expert, the last testimony that the jury heard, the defendant's

 16    very own expert, Dr. Sageman, on cross-examination testified

 17    that, indeed, the defendant was a supporter of these terrorist

 18    groups.

 19               And so I think that when the Court analyzes the

 20    evidence presented in this case, what we see, again, is from

 21    the government's perspective the beginnings of an alarming

 22    trajectory.    His activity online, while unlike other activity

 23    is not a crime, that activity, combined with the defendant's

 24    demonstrated volatility -- he talked about how he gets

 25    emotional, that's why he says those things.         And, indeed, he
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   1   gets emotional, and that's why he did those things.          To me,

   2   that's alarming.     And, again, the defendant was caught in his

   3   crime at the very cusp of an action that creates criminal

   4   liability.

   5              And so I think when you look at the evidence in this

   6   case, I would submit that $300 was merely the beginning, Your

   7   Honor.    And, indeed, the defendant was almost compelled -- even

   8   after the arrest of his codefendant, he still was viewing

   9   violent rhetoric, he was still engaging in behavior that was

 10    stoking his own sense of injustice and what he claims is

 11    injustice towards Muslims.       And that is what -- at least when I

 12    look at the analysis of the nature and circumstances of this

 13    offense and the history and characteristics of this defendant,

 14    those are the things that stand out to me.

 15               At no point during the arc of his case does he pull

 16    back.    And, indeed, again, I view this as a beginning -- a

 17    beginning of radicalization.       And combined with his volatility,

 18    I think if left unchecked, is something that I believe would

 19    have continued, especially in light of conversations he had

 20    with his codefendant.

 21               I think it's important to note that even as his

 22    codefendant was preparing to travel, Mr. Jumaev's encouragement

 23    to Mr. Muhtorov seemed to increase.        Indeed, there was a

 24    conversation where Mr. Jumaev is the one who brings up to

 25    Mr. Muhtorov the notion that supporting the wedding, supporting
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   1   those that go to the wedding, is just as important.          Indeed,

   2   the defendant is reflective of questions that get asked when a

   3   terrorist event happens or people support terrorism, there is

   4   criminal liability.     And I think that, again, the defendant's

   5   behavior is such that he was caught by the government at the

   6   very beginnings of his criminality.        And when you look at the

   7   arc of that behavior, the government's requested sentence is

   8   entirely appropriate.

   9              It should be noted that the government's requested

 10    sentence of 15 years is a departure from the guidelines.           The

 11    guidelines call for a sentence of double that, given the two

 12    counts of conviction.

 13               I believe that the presentence investigation report is

 14    written incredibly well, and I -- and, again, I've had

 15    experience with Ms. Bell, and she does her job thoroughly and

 16    carefully.    And I believe that her analysis is appropriate, the

 17    observations she makes in there are appropriate.

 18               I also believe the government's sentence above and

 19    beyond the circumstances of the offense and the history and

 20    characteristics of the defendant is one that, indeed, does

 21    avoid unwarranted sentencing disparities.

 22               The Court is right, these are unusual cases, and there

 23    aren't many of them.      I would note that the cases cited by the

 24    defense are all pleas, not all -- there are two cases that are

 25    not.   One of those cases listed doesn't have a sentence.          The
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   1   other one resulted in a sentence of 15 years.

   2              I would submit that to the extent that it is

   3   persuasive, the most analogous case for the Court to consider

   4   is the first one on the government's list.         As requested by the

   5   Court, I believe the most illustrative is the case of United

   6   States v. Nicholas Young, where Mr. Young attempted to provide

   7   $245 worth of gift cards to a designated foreign terrorist

   8   organization, I don't think the amount is necessarily a driver

   9   here; it's the intent of the defendant and the future

 10    dangerousness.     And, indeed, there is no monetary threshold for

 11    the support of terrorism.      And I do believe that, again, if

 12    left unchecked, the defendant would have endeavored to continue

 13    his support and expand his support.

 14               And that's what brings me to the deterrent effect of

 15    this.   Terrorism cases are serious crimes.        Should be an

 16    obvious statement.     And the deterrent effect of a sentence to

 17    this defendant and his active support of the Islamic Jihad

 18    Union is important to consider.       And in light of the other

 19    sentences, as requested by the Court, 15 years is in line with

 20    avoiding unwarranted sentencing disparities.         The probation

 21    officer's recommendation, while a bit less, is far more in line

 22    with avoiding unwarranted sentencing disparities and promoting

 23    respect for the law than the defendant's requested sentence of

 24    time served.

 25               Defense counsel has done a very good job of casting
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   1   the defendant's behavior in a light that seems innocuous.           But,

   2   as the jury found and as the government proved, the defendant's

   3   behavior in this case was not innocuous.         And while $300 may

   4   not be much to us, it is critical to a terrorist group.           And,

   5   indeed, what is even more important is the behavior, the

   6   emotion, that path of radicalization, that frustration, and

   7   that anger that led this defendant to cross the Rubicon, if you

   8   will, from thought and speech into action.

   9              And that being said, Your Honor, that's why the

 10    government's recommended sentence of 15 years is appropriate

 11    under the factors as listed under 3553(a).

 12               THE COURT:    Thank you.

 13               MR. HOLLOWAY:    Thank you, Your Honor.

 14               MR. SAVITZ:    Your Honor, good morning.

 15               THE COURT:    Good morning.

 16               MR. SAVITZ:    Your preliminary comments allow me to

 17    skip a significant portion of my argument.         With your

 18    invitation, I will go into the 3553 issues as well.

 19               And before I do so, Mr. Muhtorov's pleading,

 20    Document 1918, regarding his analysis of the sentencing

 21    guidelines contain many of these same arguments that we have

 22    advanced in our sentencing statement, particularly as it

 23    concerns the terrorism enhancement and other parts of the

 24    guidelines.    And we want to make sure that the record reflects

 25    our agreement with the arguments raised in Mr. Muhtorov's
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   1   document, and we ask permission of the Court to adopt that

   2   document, with the exception of Mr. Muhtorov distinguishes his

   3   role in the offense to Mr. Jumaev's role in the offense.           And

   4   we continue to advance our argument regarding Mr. Jumaev's role

   5   in the offense as being minimal or minor, compared to the

   6   alleged conduct of Mr. Muhtorov.

   7              I'm going to briefly just comment on some of the

   8   points that government counsel has made before I go into my

   9   additional analysis.      I don't want to lose sight of the

 10    comments that have been made.

 11               One of the comments that was made, that Mr. Jumaev's

 12    presence in this country began with him breaking the law with

 13    respect to jobs that he obtained and employment that he

 14    obtained.    Not to suggest that every -- that it was okay to do

 15    that, but this is a custom and practice that millions of

 16    immigrants who flee oppressive governments and countries and

 17    come to this country with the idea of a better life engage in

 18    in order to capture the American dream of a good-paying job and

 19    the ability to support loved ones back home.

 20               For more than ten, eleven years while he was living in

 21    Philadelphia, as the Court commented in its initial remarks,

 22    Mr. Jumaev lived a law-abiding life.        He was a plain and simple

 23    man.   And all he wanted to do was find work, earn money, and

 24    pay for the well-being of his family thousands of miles away,

 25    while he lived an impecunious and impoverished lifestyle at the
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   1   sacrifice of himself for the betterment of his family.

   2              Counsel for the government makes a point on Mr. Jumaev

   3   lying on his immigration application.        Mr. Jumaev owned that

   4   responsibility when he testified to this jury about the

   5   comments that he made.      He did not retreat from that

   6   responsibility.     He did not hide behind the comments that he

   7   made in his asylum application.       In my opinion, the

   8   government's accusations directed to Mr. Jumaev regarding lying

   9   and what have you is similar to the pot calling the kettle

 10    black.

 11               We have a situation in this case, when government

 12    counsel made a representation to the Court regarding a discrete

 13    portion of an exhibit that it wanted to introduce at trial,

 14    Exhibit 313, and despite that representation, and despite the

 15    order of court, surreptitiously and without telling anyone,

 16    deceitfully caused the entire exhibit to be introduced to the

 17    jury.

 18               MR. HOLLOWAY:    Your Honor, I object.      I'm going to

 19    note my objection to that.

 20               THE COURT:    All right.   It's noted.

 21               MR. SAVITZ:    In addition, during pleadings regarding

 22    that very issue, government counsel was not forthright --

 23               MR. HOLLOWAY:    Your Honor, objection.      That is simply

 24    not true.

 25               THE COURT:    Overruled.   This is argument.     It's not --
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   1   it's just argument.      You can make a rebuttal if you wish.

   2              MR. HOLLOWAY:    All right.

   3              MR. SAVITZ:    -- in terms of what he did.      He is

   4   protected by his role in this case as an attorney to be able to

   5   say certain things in the courtroom.        However, now he's seeking

   6   to punish my client with things that he owned to.          And we

   7   respectfully submit that there is a -- a different level of

   8   acceptance of responsibility as concerns my client, as it

   9   concerns government counsel.

 10               A comment was made that Dr. Sageman said that

 11    Mr. Jumaev satisfied the criteria of a pathway to violence.

 12    Conversely, and contrary to government counsel's statement,

 13    Dr. Sageman said that Mr. Jumaev never satisfied the first

 14    criteria in Dr. Sageman's model regarding the pathway to

 15    violence, particularly, identifying with a particular terrorist

 16    organization that was the subject matter of the offenses.

 17               Counsel for the government wants the Court to punish

 18    Mr. Jumaev with respect to crimes that have never been

 19    committed by Mr. Jumaev but which the government speculates

 20    that Mr. Jumaev may commit in the future.         I suggest to you

 21    that the record regarding Mr. Jumaev's background and his

 22    character indicates that he is the least likely person to

 23    recidivate with respect to the conduct with which he has been

 24    charged and convicted.

 25               Government counsel refers the Court to an emotional
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   1   expression of Mr. Jumaev in court before you when government

   2   co-counsel was informing you about the reasons that one of the

   3   sons could not be granted special parole to come to this state

   4   to testify.    Mr. Jumaev misunderstood what the comments were,

   5   thinking they had to do with the government's arrest of his

   6   son.   And as a father who had not seen his son for six years

   7   and who spent the first 19 years of that son's life caring for

   8   him and supporting him, became upset, as any father naturally

   9   would.   And once he realized that he misunderstood what was

 10    being said, he apologized for his comment.         But to take that

 11    snippet of six years of his presence in this courtroom and his

 12    gentlemanly behavior in this courtroom during that time and to

 13    point to it as being reflective of who this man is, I submit to

 14    you is shameful.

 15               The government paints itself as being magnanimous and

 16    generous in terms of a sentencing recommendation of 15 years,

 17    characterizing that as a departure.        That's fallacious

 18    reasoning.    The sentence cannot exceed the statutory maximum of

 19    15 years, so what the government is requesting is the statutory

 20    maximum.

 21               Let me address some of the other issues under 3553(a).

 22    With respect to the purposes of sentencing under 3553(a)(2),

 23    including that the sentence imposed shall reflect the

 24    seriousness of the offense, promote respect for the law, and

 25    provide just punishment for this offense, I submit to you that
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   1   Mr. Jumaev's confinement at a pretrial detention facility for

   2   76 months satisfies each of those purposes.         That confinement,

   3   as the Court knows, represents what is called real, quote, hard

   4   time, close quote, in the sense that if he were sentenced to a

   5   BOP facility, as part of his imprisonment after the offense, he

   6   would not exist -- he would not -- he would be afforded much

   7   more accommodations, including education, treatment, vocational

   8   training, than was afforded him while he was detained at F.D.C.

   9   His confinement at F.D.C. for 76 months, if you calculated the

 10    sentencing guidelines, and if he were sentenced to 90 months of

 11    imprisonment for his offense, given credit for time served,

 12    that would amount to the time he has already served, namely, 76

 13    months.

 14               And during that confinement, as you have already

 15    alluded to and as we have articulated in the sentencing

 16    statement, Mr. Jumaev had little contact with his family.

 17    During that time for the ten or eleven years before he was

 18    arrested while he lived in Philadelphia, he was in contact with

 19    his family daily.     He saw expressions of his family, saw his

 20    wife, saw their pains and happiness, he was able to comfort

 21    them, and they were able to see those expressions of his as

 22    well.   While confined, none of that occurred.         Surely, there

 23    may have been the spoken word from time to time when he was

 24    able to call his family.      But he knew that every time he

 25    called, someone was listening to that phone call -- someone,
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   1   not his family, but someone in the prison system -- so he could

   2   not afford to be open, he could not afford to say certain

   3   things out of fear that they would find themselves in a

   4   discovery document of audio conversations and transcripts of

   5   conversations that he had with his family.

   6              During the government's closing argument, they made a

   7   comment that Mr. Jumaev played a de minimis or small role with

   8   respect to the upbringing of his sons while Mr. Jumaev was

   9   living in this country.      That is also a shameful comment.

 10    Because as you heard from the testimony of his son Davlat,

 11    Mr. Jumaev played an ongoing role in that son's education,

 12    nurturing, Islamic guidance, for the entirety of that young

 13    man's life while he was able to communicate visually with his

 14    father.    And for the government to try to emasculate

 15    Mr. Jumaev's role as a husband and father for the time he was

 16    in this country is unforgivable, especially when the government

 17    tried to paint Mr. Jumaev as playing a substantial role in the

 18    guidance of his son Davlat Abdullo's life pursuits by bringing

 19    the Superseding Indictment and adding Counts 5 and 6 and

 20    alleging the interaction between Mr. Jumaev and his son in

 21    order to get his son to be a part of terrorism.

 22               The government cannot have it two ways.        They cannot

 23    criticize Mr. Jumaev for the time he was in this country and

 24    his parenting across the sea as being insignificant, but in a

 25    Third Superseding Indictment, try to say that the influence of
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   1   Mr. Jumaev over his son was a part of criminal conduct.

   2              In terms of this purpose, reflect the seriousness of

   3   the crime, promote respect for the law, and provide just

   4   punishment for the offense, as you know, the immigration

   5   collateral consequences that Mr. Jumaev faces are substantial.

   6   His confinement is not over once you impose your sentence,

   7   because once your sentence is imposed, Mr. Jumaev faces an

   8   indefinite future of confinement with immigration.

   9              With respect to seriousness of the offense and

 10    promoting respect for the law, I must explain anecdotally my

 11    comments with respect to those two issues.

 12               Throughout the entire six plus years of this case, we,

 13    defense counsel, have been loath to ever characterize these

 14    offenses as "just $300."      We have never denigrated in front of

 15    you or the jury during pretrial proceedings that, Judge, ladies

 16    and gentlemen, we're just talking about $300, and we're talking

 17    about $300 that supposedly was earmarked for a few guys running

 18    around in the woods of North Pakistan, who, essentially, have

 19    been a spent organization for the past several years and have

 20    not done anything in Uzbekistan for so many years.          We have

 21    never taken that position.

 22               At sentencing, I believe it's appropriate, as we talk

 23    about some of these purposes of sentencing, to express to you

 24    that over the course of our involvement in this case, when we

 25    have told colleagues and friends what kind of case we're
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   1   involved in, and they're saying, Spending six years on this

   2   case, what the heck is it all about?         And I try to explain,

   3   It's about a guy who came over here from a country called

   4   Uzbekistan, and he met another guy, and they supposedly sent

   5   $300 earmarked to an organization in Pakistan who wanted to

   6   overthrow a regime in Uzbekistan.        And they say, You've been

   7   sending six years and all the resources and time spent for that

   8   kind of case?     And I say, Yes.

   9              So in terms of talking about the seriousness of the

 10    offense and promoting respect for the law, I suggest to you

 11    that those factors have been met by Mr. Jumaev's service and

 12    detention in jail for over six years.

 13               The government and the probation officer talked about

 14    adequate deterrence.      In its sentencing statement, the

 15    government states, "These crimes are difficult to discover,

 16    investigate, and prosecute."       Really?   Is it difficult when the

 17    NSA conducts their electronic secretive investigation, records

 18    communications from people, provides that communication to law

 19    enforcement?    Is it so difficult when the FBI is able to use

 20    assets that they call confidential human sources to befriend

 21    people in the Muslim and other communities and at times record

 22    conversations they have with those people so the FBI has all of

 23    that data?    Is it so difficult to prosecute when the FBI is

 24    able to obtain FISA warrants, electronic warrants, and search

 25    warrants that are secretive in nature and sit back while all of
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   1   those communications are intercepted and get transcriptions of

   2   those?   Is it so difficult when the FBI is able to go into

   3   someone's house and install bugs and listen to whatever

   4   utterances are made in the privacy of a man's castle, 24/7, and

   5   just sit back and reap the benefits of that surveillance?           Is

   6   that so difficult to prosecute when it takes an AUSA at least

   7   three or four months to get caught up to speed of a case that's

   8   lasted six years to be able to try it for seven weeks?

   9              I suggest to you that the government's argument

 10    regarding deterrence, that it's too difficult to discover,

 11    investigate, and prosecute, should be more closely examined in

 12    terms of how valid that argument is.

 13               The PSR -- revised PSR at page R-4 -- and before I

 14    quote from that, let me also applaud Andrea Bell for the work

 15    and the diligence that she has expressed and shown in her work

 16    product.    From day one, she reached out to us defense attorneys

 17    to get information from us and at every step of the way, tried

 18    to ensure that she was providing the Court with the information

 19    to which you are entitled.

 20               She makes the comment at page R-4, "The need for

 21    deterrence is the most significant factor in cases such as the

 22    instant one, that financial support is the lifeblood to a

 23    terrorist organization, particularly in situations where

 24    individuals tend to be very committed to their cause."

 25               A noble comment, and certainly a comment that can be
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   1   adopted in many cases.      But I suggest to you that it may not

   2   entirely apply to the facts of this case, because in this case,

   3   the IJU didn't want the financial support that Mr. Muhtorov

   4   supposedly possessed and was willing to give to them.           They

   5   tried to discourage him from coming to wherever they were

   6   situated.    They didn't give Mr. Muhtorov instructions regarding

   7   who to contact.     And you saw in communications from him to --

   8   to them where he was saying, Who do I contact?          How do I get

   9   this to you?    And they're kind of saying, Just cool it for a

 10    while.   We'll get back to you.      So whatever letter was

 11    exchanged between the two of them, the IJU never had an

 12    interest in showing Mr. Muhtorov how to get anything to them,

 13    let alone $300.

 14               And I will reiterate -- only because I think it's

 15    important -- that what Dr. Sageman did emphasize was that

 16    Mr. Jumaev did not satisfy that first criteria of the pathway

 17    to violence, which was to identify with the IJU as an entity.

 18               From the outset, this Court wanted to know, how have

 19    other cases been treated before this one?         Because the Court,

 20    obviously, had in mind the notion of unwarranted disparities of

 21    sentencing.    And we in our sentencing statement provided you

 22    with our matrix, distinguished the matrix that the government

 23    presented to you and the one that the probation department

 24    presented to you.

 25               There seems to be few, if any, cases that arguably are
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   1   similar to the one of Mr. Jumaev, for a man on one occasion has

   2   given another man $300, and the other man has indicated he

   3   intended to give that to the IJU.        There was no planning by

   4   Mr. Jumaev to travel anywhere, unlike Mr. Muhtorov.          There was

   5   no communication between Mr. Jumaev and the terrorist

   6   organizations, unlike the situation of Mr. Muhtorov.           There was

   7   no communication between Mr. Jumaev and a CHS regarding plans

   8   to do things with the organization, unlike Mr. Muhtorov.           So

   9   Mr. Jumaev's case is somewhat unique in terms of its factual

 10    overlay.

 11               The cases that we recommended that the Court review

 12    and consider are United States v. Esse, described at pages 18

 13    and 19 of our sentencing statement.        United States -- and

 14    that's where Ms. Esse was sentenced to a five-year term of

 15    probation.    United States v. Benkahla, B-E-N-K-A-H-L-A,

 16    discussed in our sentencing statement at pages 20 to 21, where

 17    a range -- a guideline range of 210 to 262 months was varied to

 18    a sentence of 121 months, affirmed by the Fourth Circuit.           And

 19    the more recent case of United States v. Aaron Daniels, which

 20    is in our document, 1917, of supplemental materials that we

 21    provided to you, where Mr. Daniels was intending to send $250

 22    to ISIS.    That's where the government's sentencing memo,

 23    similar to this case, was suggesting how generous the

 24    government is, because Mr. Daniels had mental health

 25    challenges.    Where the maximum in the Daniels case because of
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   1   the date of the offense was 20 years --

   2              MR. BAKER:    Your Honor, I don't mean to interrupt.

   3   Mr. Jumaev would ask for a very brief recess.          He needs to use

   4   the facilities.

   5              THE COURT:    All right.   We'll take a recess.      Let me

   6   know when you're ready.

   7              (Recess at 11:01 a.m.)

   8              (In open court at 11:08 a.m.)

   9              THE COURT:    Thank you.

 10               Please be seated.

 11               Please go ahead.

 12               MR. SAVITZ:    Thank you, Your Honor.     I was in the

 13    midst of talking about the United States v. Daniels case,

 14    discussed in Document 1970, where the guidelines calculated a

 15    20-year advisory range, and the government thought it was being

 16    generous by requesting 17 years for the minimum of 15 years for

 17    Mr. Daniels.    The judge's sentence in that case was 80 months.

 18               You had told us that you had already calculated the

 19    advisory guideline range, that you intend to vary from it.            You

 20    told us that you disagree with the so-called sentencing

 21    enhancement Section 3A1.4 of the guidelines.         And you have told

 22    us that you intend that your sentence that you eventually will

 23    impose will be the sentence notwithstanding that it may be

 24    later determined that your calculation was inaccurate.

 25               What I would request that you do, in terms of the
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   1   sentence imposed in accordance with the factors under 3553(a)

   2   and the purposes of sentencing under subsection 2, is to

   3   sentence Mr. Jumaev to time served, which is what he has

   4   already served, of some 76 months.        And I submit to you that

   5   amount to a hard-time sentence of 90 months.

   6              If you impose a sentence greater than time served, we

   7   request that you recommend that the Bureau of Prisons designate

   8   F.C.I. Englewood as the place of imprisonment, because as you

   9   probably have determined over the course of years, that the

 10    people that Mr. Jumaev is closest to are those that have

 11    defended him for the past six years.        We are the main channel

 12    of information that he obtains about his situation, and we are

 13    the main channel and intermediaries that communicate between

 14    him and his family.     Without us being close to him, he loses

 15    that tenuous connection, but it is a connection that he has

 16    with the outside world and to his family.

 17               Once his sentence has been served in this case and

 18    Immigration gets ahold of him, he, essentially, is going to be

 19    a man without a country.      He does not want to go back to

 20    Uzbekistan because he fears he'll be imprisoned and tortured

 21    there.   And you have also well been familiar with the horrors

 22    of that country, notwithstanding the new regime.          A former

 23    Uzbek citizen who enters that country as a convicted terrorist

 24    is not going to be received with open arms.         He has an

 25    opportunity to argue to Immigration that if he's sent back to
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   1   Uzbekistan, he'll be subject to torture.         And whether or not

   2   the Immigration court will agree with that analysis remains to

   3   be seen.

   4              But wherever the Department of Justice through its

   5   Department of Homeland Security and Immigration and Customs

   6   Enforcement decides to transfer Mr. Jumaev once he finishes

   7   whatever sentence you impose upon him, we would like you to

   8   recommend the Department -- even order the Department of

   9   Justice that we be kept informed of Mr. Jumaev's whereabouts,

 10    because he is going to need the assistance of lawyers during

 11    his immigration process, and he doesn't have the tools to find

 12    that out.    We're going to have to help him determine that.

 13               Other than that, Your Honor, I stand here willing to

 14    answer any questions the Court may have with respect to any of

 15    the other factors of 3553(a) or to clarify any arguments that

 16    we have made in our sentencing statement.

 17               THE COURT:    Thank you very much.

 18               MR. SAVITZ:    You're welcome.

 19               THE COURT:    Mr. Holloway, if you want to make a

 20    statement for the record about the accusations made against

 21    you, but I don't want to go into further rebuttal of this,

 22    because then I have to go back to Mr. Savitz and get that

 23    rebuttal.

 24               MR. HOLLOWAY:    Certainly.

 25               THE COURT:    But I think you're entitled to make a
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   1   statement as to the accusations against you.

   2              MR. HOLLOWAY:    Thank you very much, Your Honor.        I

   3   appreciate that, Your Honor.

   4              Most pointedly, Your Honor, as the Court can already

   5   tell, I take exception to that accusation.         There has been

   6   litigation regarding that issue already.         The government and I

   7   stand on the representations as I briefed them for the Court

   8   and have indicated and detailed in pleadings regarding that

   9   issue.   I take exception to counsel making that accusation

 10    against me regarding the confusion surrounding the exhibit.

 11    And I stand on the pleadings as filed with the Court.           I

 12    appreciate the opportunity to make that record.

 13               THE COURT:    All right.   Thank you.

 14               MR. HOLLOWAY:    Thank you, Your Honor.

 15               THE COURT:    Now, you said Mr. Jumaev wants to make

 16    another statement?

 17               MR. SAVITZ:    That's my understanding.      But I don't

 18    know if based upon the comments I've already made to the Court,

 19    if he still does.     I'll ask him if he wants to make a

 20    statement.

 21               THE COURT:    You have the right, Mr. Jumaev, to make a

 22    statement now.     And I have read your letter, so you can say

 23    that that's your statement, what we call allocution, your final

 24    statement, or you can make an additional statement if you wish.

 25    It's up to you.
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   1              (All statements of the defendant through the

   2   interpreter.)

   3              THE DEFENDANT:    May I say something else?

   4              THE COURT:    Yes.   Yes.

   5              MR. SAVITZ:    Do you want him to come to the lectern?

   6              THE COURT:    Yes, I do.

   7              MR. SAVITZ:    Mr. Jumaev, come to the lectern.

   8              THE DEFENDANT:    Thank you so much, Your Honor, for

   9   giving me this opportunity to speak.

 10               In Quran, Allah says, according to Allah's words, when

 11    truth comes, don't be sorry for anyone.         Don't be sorry even

 12    for family.

 13               I do not want to accuse anybody, I do not want to

 14    insult anybody.     Your Honor, I deeply respect you.       For six

 15    years I deeply respected you and everybody; and if not for

 16    that, I wouldn't be here.       I heard so many good things about

 17    you.   And I stand here in front of you not as a criminal, but

 18    as an innocent man.

 19               I know this trial is over, it has passed.        And, again,

 20    I do not want to accuse anyone.        However, I never thought that

 21    this is the trial you should expect from American justice

 22    system.    I wanted this trial to happen because I was innocent,

 23    so this is why I really wanted this trial to happen.

 24               As a conclusion, I would like to ask your permission

 25    for the interpreter to read some parts of my letter.           And this
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   1   is where I'm just going to end my statement.         But also I would

   2   like to say that I truly appreciate your listening to me.             And,

   3   again, I don't want to accuse anybody, but I do not agree.            I

   4   do not agree with this trial.

   5              INTERPRETER:    After waiting in the detention center

   6   for six years, I finally got to trial earlier this year.            To

   7   his credit, the trial judge himself noted how difficult it is

   8   to get a fair trial once the term "terrorism" is invoked.             He

   9   noted that it is too easy for the focus to become the general

 10    concern and fear people have about terrorism instead of the

 11    specific question of whether my $300 was intended to support

 12    terrorism or to partially pay back a loan.

 13               In 2014, the Columbia Law School's Human Rights

 14    Institute released a report titled, "Illusion of Justice, Human

 15    Rights Abuses in U.S. Terrorism Prosecutions."          In

 16    contemplating whether I received a fair trial, consider this:

 17    The report lists five factors under the category of unfair

 18    trial.   All five factors are applicable in my case.

 19               Prejudicial evidence.     The category includes evidence

 20    obtained by coercion.      My false confession meets this criteria.

 21    This category also includes inflammatory evidence about

 22    terrorism in which the defendant played a part.          This was

 23    present at my trial in the form of an hour-long terrorist

 24    propaganda video that had nothing to do with my case.           The

 25    judge permitted 111 seconds of it to be played during trial,
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   1   which itself was inappropriate.       But when the jury went to

   2   deliberate, the prosecution intentionally gave them the full

   3   version of the video and the transcript, despite the judge's

   4   order not to.

   5              Second, evidence from warrantless wiretaps under FISA.

   6   The cases of my defendant and I -- the cases of my defendant

   7   and I were the first federal cases every where prosecutor

   8   submitted the evidence from warrantless wiretaps was used,

   9   prompting involvement from the ACLU.

 10               Third, classified evidence.      Classified evidence is

 11    difficult to contest.      The prosecution abused the

 12    classification of evidence as classified in my case, first, by

 13    attempting to claim that large quantities of audio files were

 14    classified, when they were, in fact, recordings of

 15    conversations I had participated in.        They also justified

 16    delays by arguing that they were processing classified evidence

 17    that was vital to the trial.       That vital evidence never

 18    materialized.

 19               Fourth, biased juries.     My jurors were all white, not

 20    a single minority or Muslim.       When it was discovered partway

 21    through the trial that the juror said that he had already

 22    concluded that I was terrorist, he was dismissed; but no

 23    attempt was made to determine whether he had tainted other

 24    jurors.

 25               Five, pretrial solitary confinement and other
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   1   conditions of confinement.       As previously noted, I spent my

   2   first nine months in solitary confinement.         In addition to

   3   being denied a fair trial, I was denied my right to a speedy

   4   trial.   This is more than just an inconvenience.         It caused

   5   irreparable harm to the presumption of innocence.          Many people

   6   upon hearing that the defendant has been detained for six years

   7   awaiting trial automatically assume that this person must be

   8   guilty of something.      Nobody wants to believe that in a country

   9   that has freedom, an innocent man could be detained for so

 10    long.

 11               THE DEFENDANT:    Thank you, Your Honor.      And if I said

 12    something wrong, I do apologize.       But I have deep trust in you,

 13    and I heard so many good things about you.         And I also want

 14    people just to hear my voice.       And, lastly, I want to say that

 15    I am not guilty.     Not -- I'm not guilty and not for -- in front

 16    of American citizens, not in front of my family, not in front

 17    of you, I just want to say that I'm not guilty.

 18               MR. SAVITZ:    Thank you, Your Honor.

 19               THE COURT:    All right.   Thank you.

 20               I will take a half-an-hour recess to make some changes

 21    in this written opinion.      And it has an appendix, by the way,

 22    attached to it which I've already done, and I want you to

 23    understand what it is.

 24               I personally have reviewed 368 terrorism cases that

 25    have been prosecuted where the sentences are since 9/11.           The
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   1   cases include 86 including conviction for material support.

   2   That is the dominant charge for which people have been

   3   convicted.    41 of those 86 are solely for material support.

   4   The other of those 86 were multiple counts, including RICO,

   5   piracy, fraud, firearms, explosives, theft, and conspiracy to

   6   murder, kidnap, maim, to commit sedition, and for explosives,

   7   and one for stealing missiles.       So those are the -- but 41 were

   8   solely for material support.       Of the 41 that I examined for

   9   material support, 7 were for money contribution only.           The rest

 10    included providing personnel or equipment in addition to money

 11    contributions.     The average sentence for material support only

 12    is 70.7 months.

 13               And I think that the other thing I do want to point

 14    out, the government has suggested that U.S. v. Nicholas Young

 15    is the most comparable.      I do not agree with that.      Mr. Young

 16    was a police officer, and his offenses included multiple

 17    transfers of gift coupons in support of terrorism.

 18               So the analysis that's already been done on these

 19    cases will show in the written opinion, but I do want to make

 20    some changes based on what I heard and also come to a final

 21    conclusion now that I have heard the sentence to be imposed.

 22               Before I forget this, though -- and Mr. Savitz has

 23    mentioned that he wants an order to be advised where the --

 24    Mr. Jumaev might be located.       I find that that's essential for

 25    the Court as well as the government.        And I'm going to ask the
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   1   probation department to maintain a constant understanding of

   2   where he is, what institution he might be in, and make that

   3   available information upon inquiry from the prosecution,

   4   defense, or from me.      That's as much as I can do about it.

   5              MR. SAVITZ:    Thank you, Your Honor.

   6              THE COURT:    All right.

   7              We'll be in recess until noon.

   8              (Recess at 11:29 a.m.)

   9              (In open court at 1:32 p.m.)

 10               THE COURT:    Thank you.   Please be seated.

 11               I apologize for keeping you waiting, but I had -- and

 12    I said 30 minutes.      I forgot we have a noon hour, and there is

 13    only so many things that people can do over the noon hour, and

 14    I wanted to make sure the defendant had a chance to eat

 15    something.

 16               I have written an opinion and made the changes in it

 17    that I thought were necessary as a result of the statements

 18    made in oral argument this morning.        And it has an appendix to

 19    it of cases that have been reviewed.        The written opinion is

 20    incorporated here in my findings by reference and a part of

 21    this record and includes the judgment in its entirety.

 22               I do want to go over a few things, however.         And

 23    that's the criteria for this sentence and to explain it to the

 24    extent I can.

 25               Although Mr. Jumaev's offense only involves a single
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   1   check on a single occasion, the surrounding events are

   2   troublesome.    Mr. Jumaev not only watched and discussed videos

   3   that I find to be repulsive in many ways, but he commented on

   4   the videos, saying things like, "Hey, you immoral hypocrite,

   5   infidels.    Your days are over whether you like it or not.         Now

   6   it is your turn.     We will not let you have peace because God's

   7   promise is true."

   8              I am also concerned by Mr. Jumaev's encouragement of

   9   Mr. Muhtorov on his path.      And that's comments such as, "You're

 10    my teacher.    Do you know that Abumumin?       Let me tell you the

 11    truth.    When it comes to the matter with wedding festivities, I

 12    think it is you who really is walking the walk."          Even if he

 13    believed Mr. Muhtorov to be joking, he could have disagreed

 14    with him, distanced himself from him, or simply not encouraged

 15    him.

 16               A common recitation in the criminal law regarding a

 17    defendant's intent is that we cannot know another person's

 18    mind.    But Mr. Jumaev's testimony, his recorded comments, and

 19    interactions with others give an idea of his sense of identity

 20    and self-perception.

 21               There are reasons why Mr. Jumaev acted as he did, and

 22    they are to be found in his conduct, not in some Manichaean

 23    struggle between good and evil.       It is clear that Mr. Jumaev

 24    became a participant in supporting a terrorist organization

 25    because of traumatic events in his life.         The extent to which
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   1   he was abused and tortured by the government in Uzbekistan is

   2   problematic, but the evidence is overwhelming that he and other

   3   unfortunate citizens of that country were subjected to

   4   deprivations of basic human rights and significant diminishment

   5   of individual worth.      No matter how horrible the language and

   6   circumstances of the Islamic fundamentalism he embraced, he was

   7   searching for a structure and a belief system that would

   8   validate his existence.      That he accepted or tacitly endorsed

   9   versions of Islam favored by militants is explained more by the

 10    social milieu in his exile from home and family than by any

 11    doctrinal epiphany.

 12               In the most favorable terms, Mr. Jumaev sought and

 13    gained employment, worked long and arduous hours in the United

 14    States, and all the while maintained communication with his

 15    wife and family and provided them with financial support.           For

 16    him, the friendship he developed with Mr. Muhtorov and the form

 17    of Islam he eventually embraced presented a promise of social

 18    justice that would right the many wrongs he had seen and

 19    experienced in his homeland of Uzbekistan, his separation from

 20    his family, and his anomie while in the United States.           While

 21    the actions of jihadis stem from what many consider to be

 22    misinterpretations of the Holy Quran, Mr. Jumaev took on this

 23    cause, in a minimally supportive way, because it gave him a

 24    sense of purpose and value in the fight against social

 25    injustice and economic deprivation to which his family and he
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   1   were subjected.

   2              His sentiments and speech were clearly supportive of

   3   the IJU and therefore viewed with grave suspicion and little

   4   sympathy, yet they must be considered for sentencing purposes

   5   as reflections of his great need for identification rather than

   6   as evidence of a deliberate intention to do evil.          The complete

   7   absence of violence in this case provides a window into how he

   8   saw himself and why he succumbed to the pressures he

   9   experienced.    Such were the causes of his behavior.        To be

 10    sure, he was influenced by others, perhaps too easily; but he

 11    did not act in any manner as an instigator or a leader or

 12    conduit for others to engage in similar conduct.

 13               The crimes with which Mr. Jumaev has been convicted

 14    are undoubtedly grave, and he must be sentenced accordingly.

 15    The material support statute is on its face a preventative

 16    measure.    It criminalizes not terrorist attacks themselves, but

 17    aid that makes the attacks more likely to occur.          So says the

 18    Supreme Court in Holder v. Humanitarian Law Project in 2010.

 19    "When it enacted 18 U.S.C. Section 2339B in 1996, Congress made

 20    specific findings regarding the serious threat posed by

 21    international terrorism."      Specifically, it found, "Foreign

 22    organizations that engage in terrorist activity are so tainted

 23    by their criminal conduct that any contribution to such an

 24    organization facilitates that conduct."

 25               Recognizing the seriousness of the offense, I
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   1   nevertheless find the government's request for a sentence of 15

   2   years' imprisonment to be irrational.        The NYU Center on Law

   3   and Security determined that for the 548 cases from 2001 to

   4   2012 involving crimes inspired by jihadist ideas, the average

   5   sentence imposed was 14 years' imprisonment.         The government

   6   provides no basis for why Mr. Jumaev's offenses are above

   7   average.

   8              To arrive at the appropriate sentence, I ask:         What

   9   sentence is necessary to convey that any support for terrorism

 10    will not be tolerated?      I believe that message has been sent in

 11    this case.    Mr. Jumaev has already been subjected to

 12    significant punishment.      He has spent 76 months in pretrial

 13    detention in Denver, far from his friends in Pennsylvania and

 14    even farther from his family in Uzbekistan and elsewhere.

 15    During that period, he has only been able to see one of his

 16    sons via video conference for ten minutes.         He has been unable

 17    to provide for his family, his long-standing role.          Mr. Jumaev

 18    also has lived with the knowledge that his communications with

 19    his family and friends were monitored for an extended period of

 20    his life, such that his private concerns have become public.

 21    At trial, the government even took the liberty of commenting on

 22    his absence as a father in his children's lives.          I have no

 23    doubt that Mr. Jumaev's time in detention and his experience

 24    throughout the investigation and prosecution of this case do

 25    not trivialize his actions.
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   1              If I imposed a term of imprisonment over the time

   2   Mr. Jumaev has already served, additional disparate

   3   consequences are possible or even likely.         Muslims frequently

   4   experience discrimination while incarcerated.          The U.S.

   5   Department of Justice Office of the Inspector General Reports

   6   to Congress on Implementation of Section 1001 of the U.S.A.

   7   Patriot Act illustrate the discriminatory treatment Muslims

   8   face while incarcerated.      Since Mr. Jumaev has been convicted

   9   of charges related to terrorism, it also would not be unheard

 10    of for him to be subjected to harsher conditions or

 11    restrictions while imprisoned.

 12               While the message is clear that the U.S. prosecution

 13    of terrorism crimes is unrelenting and inexorable, I am not

 14    positive I would be sending an effective message of deterrence

 15    by sentencing Mr. Jumaev to a longer term of imprisonment.            It

 16    is possible, instead, that I would be encouraging the

 17    commission of more serious crimes, given that the sentence

 18    would be the same regardless.

 19               Many commentators warn against unnecessarily lengthy

 20    sentences for terrorism offenses.        One of the reasons behind

 21    these warnings is the possibility of further radicalization

 22    while in prison.     And I quote from the Office of the U.S.

 23    inspector General, Department of Justice, who says, "Prison

 24    systems throughout the world have been and continue to be

 25    breeding grounds for radicalism, recruiting grounds for
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   1   extremist movements, and facilities for the planning and

   2   training of radical activities."

   3              The report also says, and I quote, "In recent years,

   4   policy decisions have produced shortages in Islamic leadership.

   5   The lack of trained leadership renders the religion at

   6   perpetual risk of being guided by inmates who can hardly

   7   deliver authoritative spiritual guidance.         More critically, it

   8   allows individuals to exploit the pulpit, depart from

   9   traditional teachings, and even propagate an extremist agenda."

 10               These factors, to my mind, weigh against a protracted

 11    additional term of imprisonment.

 12               Mr. Jumaev has no criminal history, and as I have

 13    already stated, there is no indication that he will recidivate.

 14    He is subject to deportation and may never again be out of

 15    custody in the U.S.     The government contends that Mr. Jumaev's

 16    conduct reflects a clear upward trajectory, indicating that "If

 17    left unchecked," Mr. Jumaev would have "endeavored to continue

 18    his support and expand his support."        That's the government's

 19    argument that was made this morning.

 20               I am not persuaded in the least bit by this argument.

 21    Mr. Jumaev wrote the $300 check in March 2011.          He was not

 22    arrested in this case until March 2012.         Yet, during that year

 23    period, there is no evidence that he committed any other crime

 24    or attempted to support terrorism in any other way.          When

 25    Mr. Muhtorov finally told Mr. Jumaev he was leaving for Turkey,
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   1   Mr. Jumaev did not write him another check to take with him or

   2   try to assist him with his travel.

   3              As Judge Janet Hall found in the U.S. v. Ahmad in the

   4   District of Connecticut on July 16, 2014, I cannot sentence

   5   Mr. Jumaev on an unfounded fear that he might do something and

   6   extend his sentence as a result.       I must look to what he

   7   actually did and determine whether it is likely that he will do

   8   something similar or greater in the future.         From the facts

   9   before me, I find it is not.

 10               To my knowledge, the Bureau of Prisons offers no

 11    relevant training or rehabilitation programs available for

 12    Mr. Jumaev and his crimes.       This is significant because there

 13    is little hope that the negative influences resulting from a

 14    longer period of incarceration will be balanced with a

 15    productive program.     I have considered the opportunity for

 16    Mr. Jumaev to pursue additional educational opportunities while

 17    in prison, but have determined that special benefit is

 18    outweighed by the other factors.

 19               Mr. Jumaev has now been in detention to 2,316 days.             I

 20    could impose an additional term of imprisonment up to the

 21    maximum sentence under the statute, 15 years for each count, or

 22    I sentence him to the time he has already served.          Sentencing

 23    him to a term of less than 2,316 days he has spent in detention

 24    would be meaningless at this point.        Violations of

 25    18 U.S.C. Section 2339B can also carry a maximum fine of up to
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   1   $250,000 and up to a life term of supervised release.

   2              In evaluating the sentences available, I have

   3   considered the immigration consequences and available forms of

   4   relief for Mr. Jumaev as well.       I commend defense counsel for

   5   their thoroughness in presenting the related material for

   6   sentencing purposes.      Mr. Jumaev is currently in immigration

   7   proceedings and will likely be detained by Immigration and

   8   Customs Enforcement as soon as he is released from custody in

   9   this case.    Mr. Jumaev could then be removed to Uzbekistan and

 10    face an uncertain future there or could be detained here for

 11    and extended period pursuant to the Convention Against Torture.

 12    See, for example, Yusupov v. Attorney General of the United

 13    States, 650 F.3d 968, the Third Circuit in 2011, discussing the

 14    likelihood that the petitioners, two Uzbek nationals, would be

 15    persecuted and tortured if removed to Uzbekistan because of

 16    their religious and political beliefs; explaining the forms of

 17    relief available and the impact of a determination that an

 18    alien is a danger to the security of the United States; and

 19    holding that the government had not proved that the petitioners

 20    were a danger to the security of the United States, so they

 21    were entitled to mandatory withholding of removal.          Either way,

 22    Mr. Jumaev's options are bleak, and continued detention

 23    separate from this case is most probably in his future.

 24    Additionally, as a result of his immigration status and the

 25    corresponding proceedings, any period of supervised release
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   1   imposed will likely be an unrealized figment of his sentence.

   2              Finally, I must consider the need to avoid unwarranted

   3   sentence disparities among defendants with similar records who

   4   have been found guilty of similar conduct.         Understanding that

   5   the sentencing guidelines are not useful for avoiding

   6   sentencing disparities in terrorism-related cases, I ordered

   7   the parties and the probation office to submit summaries of

   8   previous cases in which a defendant has been convicted under

   9   18 U.S.C. Section 2339B.      I have reviewed their submissions,

 10    along with the relevant cases listed in the sentencing

 11    compilation matrix prepared by the defense in U.S. v. Ahmad,

 12    and that's the District of Connecticut case that I just

 13    referred to with Judge Hall.

 14               While the material support statutes have been among

 15    the most frequently prosecuted federal anti-terrorism statutes,

 16    there are only a few cases that bear enough likeness to

 17    Mr. Jumaev's to be worthy of comparison, and even these are

 18    readily distinguishable.      But as is apparent, each of the

 19    defendants engaged in substantially more culpable conduct than

 20    Mr. Jumaev, such as participating in intricate conspiracy

 21    networks, contributing considerable sums of money, providing

 22    support on a recurrent basis, joining in recruitment efforts,

 23    plotting against the United States, and so on.

 24               I will not go through the cases which I discuss.

 25    They're there in the written opinion and available for your
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   1   examination.

   2              And summarized as follows:      All of the above

   3   defendants share with Mr. Jumaev that their convictions involve

   4   the provision of money as the form of material support.           Yet

   5   Mr. Jumaev's conduct does not reach the level of any of theirs.

   6   He did not attempt to purchase any weapons, he had no direct

   7   contact with members of terrorist organization, he did not

   8   associate with terrorists to try to support them while in the

   9   U.S. Armed Forces or law enforcement, he did not take pictures

 10    of U.S. monuments to encourage a terrorist attack, he did not

 11    buy a ticket to travel anywhere, he did not serve in a

 12    leadership role of an organization, he did not solicit funds

 13    from other individuals or attempt to recruit them, he did not

 14    provide thousands or hundreds of thousands of dollars in

 15    support, he did not provide support on multiple occasions, his

 16    funds did not result in purchase of tactical equipment, and his

 17    efforts were neither organized nor methodical.          The defendants

 18    in the other cases which I have compared share at least some of

 19    those elements that he does not have in his record.

 20               I'll get right to the sentence.       And I do want to

 21    point out something.      I realize that Mr. Jumaev feels that he

 22    is not guilty, but I have never sentenced anybody that I felt

 23    wasn't, and I'm not doing so today.        I think there is evidence

 24    there that the jury listened to and the jury found and the jury

 25    decided that he was guilty, and it was based upon evidence.
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   1   And I do think he crossed a line from pure fantasy into

   2   providing money that he knew and that he said was going there.

   3              Judge Marvin Frankel, who wrote the definitive book,

   4   Law Without Order, which inspired the creation of the

   5   sentencing guidelines -- much to his chagrin, in the way they

   6   turned out -- but he did say, and I quote, "It is our duty to

   7   see that the force of the state, when it is brought to bear

   8   through the sentences of our courts, is exerted with the

   9   maximum we could muster of rational thought, humanity, and

 10    compassion."    Despite the nature of this case, or perhaps even

 11    because of it, I have endeavored with every ounce of my being

 12    to craft a sentence for Mr. Jumaev that is based on rational

 13    thought, humanity, and compassion.

 14               After serious reflection on all of the factors

 15    discussed above, I sentence the defendant, Bakhtiyor Jumaev, to

 16    time served, in effect, 76 months and three days.          Mr. Jumaev

 17    shall be placed on supervised for a term of ten years for each

 18    count, to run concurrently.       Mr. Jumaev shall immediately pay a

 19    special assessment of $200.       I find he does not have the

 20    ability, prospects, or resources to pay a fine; and so I waive

 21    the fine in this case.

 22               Now, if Mr. Jumaev is deported, he obviously cannot be

 23    on supervised release.      But within 72 hours of release from

 24    custody by the Bureau of Prisons, if he is released, he shall

 25    report to the probation office in the District of Colorado.
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   1   And while on supervision, he is subject to the conditions that

   2   may be changed or modified before his release.          If he returns

   3   to this country or if he is released and he returns to country,

   4   the conditions of supervised will then be determined in toto.

   5              In that regard, I will not go over the conditions of

   6   release, because it seems clear to me that he's not going to be

   7   released.    But if he is deported, he must not thereafter

   8   reenter the United States illegally.        If he reenters the United

   9   States legally, he must report to the nearest U.S. probation

 10    office within 72 hours of his return.

 11               Mr. Jumaev, you have the right to appeal your

 12    conviction and sentence.      If you desire to appeal, a notice of

 13    appeal must be filed with the Clerk of Court within 14 days

 14    after the entry of judgment or your right to appeal will be

 15    lost.   If you're unable to afford an attorney for an appeal,

 16    the Court will appoint one to represent you.         And if you so

 17    request, the Clerk of Court will immediately prepare and file a

 18    notice of appeal on your behalf.

 19               Is there anything from the government?

 20               MR. HOLLOWAY:    No.   Thank you, Your Honor.

 21               THE COURT:    Anything from the defense?

 22               MR. SAVITZ:    Just briefly, Your Honor.

 23               You have presented a 42-page memorandum and order of

 24    sentencing, which, as you described it, involved rational

 25    thought, humanity, and compassion.        And those are the
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   1   characteristics that you have brought to this case from the

   2   very first day that we appeared before you more than six years

   3   ago.

   4              I remember as a young lawyer when a mentor of mine who

   5   was doing domestic relations, or divorce work, said, David, if

   6   you do that kind of work, you're going to have -- whenever

   7   there is an order, one side will think the judge is brilliant;

   8   another side will think the judge is really a stupid guy.

   9   Sometimes that's the same thing we hear in criminal cases.

 10    When we aggressively on both sides of the aisle argue for our

 11    specific positions, when the judge rules in our favor, we think

 12    he is brilliant; when he doesn't, we have a different adjective

 13    to describe his ruling.

 14               Judges often in this courthouse do not leave a case

 15    without knowing what their legacy is.        And what we want to

 16    inform you is that you leave this case with a legacy of

 17    profound respect, admiration, and thank you.         We know that you

 18    have given up a lot of your time and issues regarding your

 19    health to see this case and Mr. Muhtorov's case through to the

 20    very end.    We now wish that you take care of yourself and do

 21    the things that you need to do to live a long and fruitful

 22    life, and we hope to be a part of that in the future.

 23               Thank you for your service.

 24               THE COURT:   Thank you.

 25               Never had anybody say that before.       Thank you very
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   1   much.

   2              It's my profound wish, Mr. Jumaev, that you be able to

   3   rejoin your family in a safe environment and that you no longer

   4   engage in this kind of activity.

   5              We'll be in recess.

   6              (Recess at 1:55 p.m.)

   7

   8                           REPORTER'S CERTIFICATE

   9         I certify that the foregoing is a correct transcript from
       the record of proceedings in the above-entitled matter.
 10
                  Dated at Denver, Colorado, this 25th day of July,
 11    2018.

 12

 13
                                            ______________________________
 14                                         Therese Lindblom,CSR,RMR,CRR

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